OAHU SUGAR CO., LTD., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Oahu Sugar Co. v. CommissionerDocket No. 15852.United States Board of Tax Appeals13 B.T.A. 404; 1928 BTA LEXIS 3255; September 19, 1928, Promulgated *3255  1.  Decision in Kahuku Plantation Co.,12 B.T.A. 977, as modified in 13 B.T.A. 292, followed.  2.  March 1, 1913, value of leasehold interest in sugar cane lands determined.  A. A. Balantine, Esq., S. Milton Simpson, Esq., and Bernard Knollenberg, Esq., for the petitioner.  M. N. Fisher, Esq., and L. C. Mitchell, Esq., for the respondent.  PHILLIPS *404  The Commissioner determined a deficiency in income and profits taxes for the calendar year 1920 in the amount of $380,907.93.  Petitioner instituted this proceeding for a redetermination of its tax and alleges that the Commissioner committed error in including as taxable income for the year 1920, the amount of $828,060.74 received by the petitioner on December 31, 1920, as indemnity for losses to its 1921 and 1922 sugar crops and in failing to allow as a deduction in computing taxable income for 1920, $74,359.39 depreciation sustained on leaseholds of cane lands acquired prior to March 1, 1913.  The first assignment of error raises a question which is common to several proceedings, all heard at the same time.  The proceeding known as Kahuku Plantation Co.*3256  , Docket No. 19156, was made the test case for the determination of the principle involved.  *405  FINDINGS OF FACT.  1.  Petitioner and the affiliated corporation, Waiahole Water Co., Ltd., are corporations organized under the laws of the Territory of Hawaii.  Their principal offices are in Honolulu.  Petitioner operates a sugar plantation on the Island of Oahu.  2.  The findings of fact under this paragraph number are identical with the findings of fact of paragraph 2 in Kahuku Plantation Co., Docket No. 19156, and such findings are, by reference, incorporated herein and made a part hereof.  3.  The petitioner, with the approval of the Commissioner of Internal Revenue, has for many years (before, during, and after 1920) kept its accounts and made its Federal income-tax returns on the so-called "crop basis" as permitted by the Treasury regulations.  The crop basis of accounting was very generally in use by sugar plantations throughout the Islands.  Under this system of accounts a crop was treated as a venture and an account kept for each crop.  All expense incident to the crop, from the preparation of the soil to the harvest and manufacture of the cane into raw sugar, *3257  were charged to the crop account, and all receipts from the crop were credited to the crop account.  When the crop was harvested and disposed of, the account was closed and it was determined whether there had been a profit realized or a loss sustained from the crop.  4-7.  The findings of fact under these paragraph numbers are respectively identical with findings of fact, paragraph 4-7 inclusive, in Kahuku Plantation Co., Docket No. 19156, and such findings of fact are, by reference, incorporated herein and made a part hereof.  8.  The strike was finally broken in July, 1920, but not until the seven Oahu plantations affected by it, including petitioner's plantation, had sustained damages to their growing crops of cane.  During the period of the strike there was in the ground most of the 1920 crop, planted in 1918; the 1921 crop planted in 1919; and the 1922 crop planted in 1920.  The strike caused a shortage of labor.  The strike-breakers were inexperienced men and the hours worked were less than the regular plantation hours.  As a consequence, labor performed on the three crops was less than that which would normally have been performed.  As a result of this shortage in labor*3258  and other conditions brought about by the strike, the harvest, and consequently the manufacture and marketing of the 1920 crop, was delayed.  During the period of delay the market price of sugar fell.  The cultivation, irrigation and fertilization of the 1921 and 1922 crops were delayed and irregular.  This stunted the growth of the cane and as a consequence the yield was less than it otherwise would have been.  The planting of the 1922 crop was delayed and a greater part than normal was cultivated *406  from ratoons.  When it became apparent that the strike was likely to continue for some time and that losses were being sustained against which there was no check, the Association decided that steps should be taken to have a record made of the conditions on each of the plantations so there might be some evidence of loss other than the statement of the respective managers.  9.  The findings of fact under this paragraph number are respectively identical with the findings of fact in paragraph 9, in Kahuku Plantation Co., Docket No. 19156, and such findings of fact are, by reference, incorporated herein and made a part hereof.  10.  When the strike had been settled, the Hawaiian*3259  Sugar Planters' Association, through its strike claims committee, estimated the net losses sustained by the affected plantations.  11.  On December 29, 1920, the Association empowered the Strike Claims Committee to make a final determination of the amount of strike loss indemnity to be allowed to the Oahu plantations.  This Committee then took up in detail the matter of determining the amount of losses occurring on each plantation with respect to each crop affected.  On November 17, 1920, it presented to the Trustees of the Association a detailed form to be employed by the plantations in submitting their claims for strike losses.  It was the purpose of this form to measure losses by the decreased receipts from each crop, with adjustment for increased or decreased costs in the planting, cultivation, and marketing of such crop.  The computation of the amount so ascertained and paid to the petitioner was summarized on one of these forms as follows: LossesGains1920 cropExhibit 2 (D) (operations)$161,616.72Exhibit 3 (D) (bonus)$236,987.66Exhibit 4 (B) (receipts)3,077,322.35Exhibit 5 (D)(E) (rents)80,690.23Exhibit 6 (C) (miscellaneous)217,489.82Total, 1920 crop3,456,428.89317,677.89Subtract gains, 1920 crop317,677.89Net losses, 1920 crop3,138,751.001921 corpExhibit 8 (C) (operations)72,870.93Exhibit 9 (M) (receipts)218,434.16Exhibit 10 (D)(E) (rents)6,635.93Exhibit 11 (C) (miscellaneous)21,863.74Total, 1921 crop313,168.836,635.93Substract gains, 1921 crop6,635.93Net losses, 1921 crop306,532.901922 cropExhibit 13 (C) (operations)56,885.50Exhibit 14 (M) (receipts)618,789.23Exhibit 15 (D)(E) (rents)17,596.88Exhibit 16 (C) (miscellaneous)22,779.01Total, 1922 crop618,789.2397,261.39Subtract gains, 1922 crop97,261.39Net losses, 1922 crop521,527.84*3260 *407  All of such loss was based on acreage which was either seeded or ratooned and no part was based on any uncultivated area.  12-17.  The findings of fact under these paragraph numbers are respectively identical with the findings of fact, paragraphs 12 to 17, inclusive, in Kahuku Plantation Co., Docket No. 19156, and such findings are, by reference, incorporated herein and made part hereof.  18.  The sum of $3,966,811.74, representing its estimated loss with respect to the three crops, was paid to petitioner by the Hawaiian Sugar Planters' Association in December, 1920.  19.  In its accounts and in its Federal income-tax returns petitioner treated the amount received as indemnity for the estimated losses to its 1920 crop as income for 1920.  It treated the amounts received as indemnity for the losses to its 1921 and 1922 crops as income for the years 1921 and 1922, respectively, and not as income for 1920.  20.  The respondent, in the determination of the deficiency, treated $306,532.90 received on account of the 1921 crop and $521,527.84 received on account of the 1922 crop as taxable income for 1920.  21.  In petitioner's business of running a sugar plantation*3261  there are items of expense and income that can not be allocated to any particular crop and are properly applied to the year in which they are incurred or received.  22.  Petitioner was organized early in the year 1897 for the purpose of developing a sugar plantation on a tract of land of about 9,300 acres adjacent to Waipahu, on the Island of Oahu, one of the Hawaiian Islands.  It acquired a relatively small acreage in fee in and around Waipahu upon which it built its mill.  The main tract which petitioner was organized to acquire and develop into a sugar plantation, consisting of about 9,300 acres, was covered by three leases, which were executed by the Oahu Railway &amp; Land Co., Ltd., Irene Ii Brown, et al., and M. P. Robinson, et al., on February 13, 1897, March 31, 1897, and April 7, 1897, respectively.  They are known, respectively, as "The Oahu Railway and Land Company lease," "The John Ii Estate lease," and "The Robinson Estate lease." These three leases will expire, respectively, on January 1, 1940, March 31, 1957, and April 7, 1957.  They comprise, respectively, approximately 3,100, 3,400, and 2,800 acres.  23.  Under the terms of the leases, petitioner agreed to pay to*3262  the lessors 4 1/2 per cent of the sugar produced on each lease.  It was later agreed that petitioner should pay to each lessor 1 1/2 per cent of the sugar produced on the three leases.  In 1897 petitioner paid in advance to the Oahu Railway &amp; Land Co. the rent which would become due to it under its lease as modified, by the transfer to it of 2,550 shares of petitioner's capital stock, which had a par value of $100 *408  per share at that time.  On March 1, 1913, petitioner was under agreement to pay and has paid as rental for the said Robinson Estate lease and the said John Ii Estate lease 3 per cent of the receipts from all products of sugar cane produced or manufactured for sale on the premises demised by those two leases and by the said Oahu Railway &amp; Land Co. lease, after proper allowance for taxes, commissions, containers, and other costs and charges.  24.  Petitioner also acquired certain leases on the basis of a fixed rental in dollars, the date of the leases, the lessors, expiration dates, acreages, and annual rentals being as follows: Date of leaseLessorExpiration dateAcreageAnnual rentalOct. 24, 1899John Ii EstateOct. 24, 19191,196.00$1,495.00Nov. 4, 1899Oahu R. &amp; L. CoJan. 1, 1940107.841,833.28Jan. 10, 1903John Ii estateJan. 1, 1940340.002,250.00Before 1913John Ii estate1935256.59Before 1913Bishop estate1935135.60*3263  25.  The lease from the John Ii Estate, dated October 24, 1899, provided that the lessor should, at all times, have the right to be restored to the possession of all or any portion of the demised premises extending 500 feet back from the high water mark of the shore line, and, in case the United States Government or the Hawaiian Government should desire the premises, that petitioner should release any portion of the demised land not to exceed 380 acres.  26.  Said eight leases had a fair market value of $950,000 on March 1, 1913.  OPINION.  PHILLIPS: The decision of the first of the issues involved in this proceeding is governed by our decision in , as subsequently modified, . The record in the two cases is substantially the same.  Upon the authority of the decision in that case it is held that the Commissioner erred in including the payment on account of the net losses to the 1921 and 1922 crops in computing petitioner's taxable income for 1920.  This proceeding also involves the determination of the fair market value on March 1, 1913, of petitioner's leaseholds of sugar cane lands. *3264  It is one of several heard at the same time which raise the same question with respect to various leases of cane lands in the Hawaiian Islands.  In this case, as in the others, it is alleged that the Commissioner committed error in the computation of the taxable net income when he refused to permit the deduction under section 234(a)(7) of the Revenue Act of 1918 of a reasonable amount for the exhaustion of this asset.  The right to a deduction for the exhaustion of such *409  an asset is not questioned, the Commissioner having acquiesced in the decision of the Board in . The parties differ only as to the value of the leaseholds on the basic date.  In this proceeding the petitioner contends that its leaseholds then had a fair market value of between $1,500,000 and $1,750,000; the respondent answers that they had no value.  On the basic date the petitioner held land under several leases expiring at various dates and owned some land in fee, the details being set out in our findings above.  Of a total of approximately 11,700 acres controlled, over 8,500 acres were under cultivation.  No sales or leases of sugar lands such as those*3265  of the petitioner were negotiated in or near 1913.  There was no large parcel of land suitable for development into a sugar plantation which was not owned or under lease to one of the large plantations in the islands.  The parties have consequently had recourse to the opinions of those familiar with cane plantations and leaseholds, to appraisals based on earnings, to evidence of sales of the capital stock of the petitioner and of other sugar properties, and to other evidence which counsel have regarded as having a bearing upon the situation.  We have in the record detailed statements of the assets and liabilities of the petitioner over a period of years prior to the basic date, of earnings both before and after the basic date, and of the cost of producing sugar and prices paid for it over a period of years.  We have testimony setting out the history of the sugar industry in the Islands, dealing with the hazards of the industry, its progress, and its relation to the same industry in the States and elsewhere.  We have been told how the cane is planted, ratooned, cultivated, irrigated, harvested, ground and marketed.  The labor problem, insect pests, and the discovery and improvement*3266  of new and better varieties of cane all have their place in the evidence.  The topography of the islands and of the various plantations, soil conditions, and climate are dealt with in the record.  We have evidence of the trend of prices of sugar company stocks on the exchange and testimony of the situation which prevailed in the sugar industry in the islands on the basic date.  The parties have set before us as complete a picture as it has seemed possible to draw with the evidence available at this time.  It would be a needless burden, if not impossible, to set out this evidence here in detail or to discuss the relative weight given to various factors in arriving at our decision upon value.  There are, however, some outstanding factors upon which the parties have laid emphasis which should be discussed.  The principal leases of the petitioner were made at a time when the practicability of profitable production of sugar on these lands had not been demonstrated.  A substantial part of the lands were *410  situated well above sea level and required irrigation.  Whether a sufficient and satisfactory supply of water could be obtained to operate the plantation at a profit was then*3267  questionable.  The situation in 1913 was entirely different.  By that year 60 artesian wells were in operation and water was pumped over a large part of the plantation by 12 pumping stations.  It was pumped to a mean elevation of 385 feet, one of the highest elevations on the Islands for this operation.  For several years prior to 1913 some 8,500 acres were under profitable cultivation by petitioner.  In 1913 plans were under way to obtain a greater supply of water, which would permit cultivation of the remaining lands.  Later we will have occasion to discuss these plans more fully.  By 1913 what had originally been a speculation, fraught with substantial losses to the lessees should it be unsuccessful, had been proven practicable and was paying substantial profits to the petitioner.  The respondent relies upon the tariff situation as having seriously impaired, if not destroyed, any value which might otherwise have attached to the leaseholds by reason of profitable operation thereunder.  On March 1, 1913, there was in effect a United States tariff on sugar of the kind produced by petitioner of 1.685 cents per pound.  This rate had prevailed since 1897.  Hawaii in 1913 was domestic*3268  territory and therefore entitled to sell its sugar in the United States free of this duty.  This rate, after allowing for a differential of 20 per cent in favor of Cuban sugar which had been granted in 1903, was sufficient to permit the Hawaiian plantations to compete successfully with Cuban and other foreign growers despite the greater cost of producing and shipping their product.  With this tariff in effect, the Hawaiian plantations had been prosperous.  Without tariff protection, few, if any, could have been operated at a profit; there was reason to believe that most would have sustained substantial losses.  The election of 1912 had changed the party in control of national policies.  The platform of this party had promised tariff revision and the threat of reduction or elimination of the tariff on sugar was imminent.  Just what the result might be was regarded as uncertain, for it was believed that anything which would harm the industry in the Islands would be even more harmful to the domestic growers of cane sugar in the south and beet sugar in the west.  The tariff situation must be recognized as one of the greatest hazards of the sugar industry in the Islands.  A period of*3269  low tariff or free sugar means decreased profits or losses.  The testimony would indicate that an indefinite continuation of such a situation might wipe out the sugar industry in the Islands.  The testimony discloses further, however, that responsible business men, in touch with business and political conditions, were of the opinion that such *411  a situation was improbable.  It was their opinion that a low tariff or no tariff protection might exist for a short time or even for a few years but that such a tariff policy would not continue long.  This opinion was confirmed by subsequent events.  In October, 1913, a law was passed providing for a 20 per cent reduction in the tariff on sugar, effective March 1, 1914, with a provision for the removal of all tariff after May 1, 1916.  However, on April 27, 1916, this free-sugar clause was repealed and the duty continued at 1.256 cents per pound.  The most striking illustration of the effect of tariff revision upon the views of business men in the Islands which is presented in the record before us is furnished by the action of the directors of this petitioner.  In 1913 it had 3,000 acres under lease which were not under cultivation. *3270  On these it paid no rental and incurred no expense except, perhaps, some small amount for taxes.  It might, had it chosen to do so, have permitted these lands to remain as they were.  Nevertheless, in December, 1912, the petitioner entered upon a project to bring water to these lands from the mountains, the cost of which was estimated at approximately $2,500,000.  In March, 1913, work was begun on this project and was continued until 1916 when it was completed.  In 1914, a bond issue of $2,500,000 was floated by the petitioner at 6 per cent.  This was done when the tariff situation, from the Hawaiian point of view, was at its worst.  It is very persuasive evidence that the value of sugar lands had not been destroyed, and that there was confidence in the industry that any setback would be temporary.  We can not believe that in 1913 the future of the industry was looked upon as being as dark as counsel for the respondent would paint it.  On the other hand, the view of the situation now taken by petitioner and its witnesses seems to us to be colored with an optimism which was unjustified in 1913.  It is not unnatural that their present views should be tinged to some extent by the unprecedented*3271  prosperity which followed the outbreak of the World War; a prosperity which could not have been foreseen in 1913 by the most hopeful planter.  The petitioner's witnesses based their opinions of value largely upon earnings of the years prior to 1913.  During all of those years a favorable tariff situation prevailed.  On March 1, 1913, the probabilities were that, for a time at least, profits would be seriously curtailed.  Aside from the effect of a possible change in tariff, sufficient was known of the 1913 crop to indicate that it would be smaller and less profitable than that of any recent year.  Neither a purchaser nor a seller would have been justified in ignoring these factors in arriving at the price at which they could negotiate a sale *412  of the leaseholds.  They could not properly have regarded the earnings of the years immediately preceding 1913 as establishing a basis representative of earnings to be expected in the near future.  Earnings of the past play their proper part in helping to arrive at the present market value only if they are considered in connection with all other surrounding facts which may be helpful in determining whether future earnings will be*3272  more or less.  In computing taxable income the Commissioner has already allowed deductions for the exhaustion of the depreciable assets of the petitioner, including improvements to the leased lands, based on their value on March 1, 1913.  For the purpose of fixing this value it would appear that the depreciated cost on that date had been used in valuing many, if not all, of these assets.  Many of the improvements, such as wells and irrigating ditches, are so closely associated with the leases as to be inseparable.  Exhaustion of the improvements having been allowed, that which we are now called upon to value is the bare leasehold interests.  We do not understand that this requires that we shall look upon this land as restored to its original barren, unproven condition and attempt to value similar leases of such land.  The petitioner is entitled to exhaust its assets as they stood on the basic date.  Confusion of thought is avoided if we look upon the leaseholds in their improved and proven condition on March 1, 1913, realizing that petitioner is entitled to a deduction for the exhaustion of the value of the whole.  What has been allowed is exhaustion of a part.  That which we must*3273  value is the balance, and in so doing we must look to the conditions existing at the basic date.  In reaching our decision we have considered the elevation of the petitioner's lands and the greater cost of production on that account.  On March 1, 1913, it had an investment of approximately $1,367,000 in wells, pumps, pumping machinery and buildings, reservoirs and other assets used in the irrigation system.  It pumped its water to a mean elevation of 385 feet, an expensive matter.  To develop its remaining lands and furnish a better supply to those under cultivation, it was engaged upon a project which committed it to spend approximately $2,500,000 further in developing its water supply.  Because of the high cost of irrigation the owner of the leaseholds of the petitioner would not be in as good a position as many other plantations on the Islands to meet the increased competition and the decreased returns which would result should there be a tariff reduction.  This was a factor which could not have been ignored by those interested in a sale or purchase of these leaseholds.  The petitioner's plantation was not on the market in 1913.  It had earned substantial profits in the past*3274  and there was reason in 1913 to suppose that through a period of years, regardless of the prospect of decreased earnings in the immediate future, it would continue *413  to be a very profitable business.  Its liabilities were small compared with what might be regarded as its current assets and it was in a position to continue its operation over a period of lean years, should they come.  It is very evident that its managers had faith in its future and no intention of disposing of their property.  Wheh we come, however, to fix a fair market value we must consider another viewpoint than that of the owner; that of the purchaser.  As we said in : It has been said that value is the price at which a willing seller and a willing buyer would agree to trade if they both were aware of the facts.  As to a completed transaction, this is a simple statement.  But there is a great difference between finding value from an actual transaction and finding it by assuming from the circumstances a hypothetical transaction from which value is to be inferred.  Here the problem is to determine as of a past date the fair market price or value of property*3275  the like of which was not involved at that time in any transaction, and as to which there was no willing seller or willing buyer and no direct evidence of the considerations which would actually have moved them to buy or sell such property.  We have sought to place ourselves on March 1, 1913 - recognizing all the facts in existence or in contemplation on that date as shown by the evidence, and from them attempting reasonably to predict those to come, being neither unduly skeptical nor unduly optimistic, we have sought to determine what an intelligent and reasonable seller and an intelligent and reasonable buyer wwuld in their fairly mercenary interests have been most likely willingly to agree upon as a price for the property in question.  Clearly opinions might differ as to such price.  A common figure must be agreed upon.  In such circumstances as we have here there is room for such a great divergence of reasonable opinion upon value that considerable latitude must be allowed for the adjustments which would occur during negotiations.  We must postulate the existence of a willing seller and a willing and able buyer, both familiar with the situation, reasonable in their views, acting*3276  for their own best interests and each willing to make such adjustments in his views upon value as might be necessary to bring about a sale at a reasonable amount, fair to both parties.  It would be necessary to assume that so much of the plantation as was subject to these leaseholds was to be sold as a whole, that the parties were in agreement as to the value of the improvements upon the leaseholds, and that they were now seeking to fix a "bonus value" of the leases under which the land was occupied.  The petitioner has submitted an appraisal of the leasehold value, based on the earnings of the five years preceding 1913 and providing for a return of 8 per cent on tangible assets and improvements on the leasehold and 12 per cent on the amount paid for the leasehold interest, all cost to be amortized over the life of the lease.  Such an appraisal is helpful but by no means conclusive in arriving at a decision as to value.  It represents an effort to incorporate the factors of valuation in a computation by formula.  If *414  there be any error of judgment, the result is wrong.  There are several such computations which might be made, all based upon the evidence in this proceeding, *3277  which arrive at substantially different results.  None seems to be beyond criticism although each would seem worthy of some consideration by a prospective buyer or seller.  In such circumstances as we have here, it seems to us that any conclusion based primarily upon a mathematical computation is unsatisfactory.  There are too many considerations which may not be expressed in terms of mathematics, although their appeal to reason is such that they must be carefully considered in reaching a conclusion.  We have derived from formulas what help seems possible but find none which we may say correctly reflects all the factors which must be considered.  We have already indicated the scope of the evidence and the relative weight which it seems to us should be attached to some of the more important factors.  We have attempted to weigh the evidence as a whole in an effort to arrive at an impartial judgment of the amount which would represent a fair price upon which both seller and buyer might agree.  It is our judgment that $950,000 would be the amount upon which such parties might be expected to reach an agreement which would be reasonable as to each of them.  We have determined the fair*3278  market value of the leasehold interests at that amount.  A reasonable allowance for the exhaustion of this amount over the life of the leases is properly allowable in computing taxable income.  The amount to be allowed in 1920 can be arrived at with reasonable accuracy by considering the life of each lease with respect to its acreage and using the average as the basis for the exhaustion of this value.  Reviewed by the Board.  Decision will be entered under Rule 50.